                   So Ordered.

Dated: December 29th, 2021
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      12                         IN THE U.S. BANKRUPTCY COURT FOR THE
                                    EASTERN DISTRICT OF WASHINGTON
      13

      14   In re
      15   EASTERDAY RANCHES, INC.,                        Lead Case No.: 21-00141-WLH11
      16                                         Debtor.
      17
           In re                                           Jointly administered with:
      18                                                   Case No. 21-00176-WLH11
           EASTERDAY FARMS, a Washington General
      19   Partnership                           ORDER (1) APPROVING STIPULATION;
                                                 (2) APPROVING REJECTION OF CERTAIN
      20                                 Debtor. LEASES, AND (3) FIXING REJECTION
                                                 CLAIM
      21
                   THIS MATTER came before the court upon the Stipulation Between Huntington National
      22

      23 Bank and Debtors Rejecting Certain Leases and Fixing Rejection Claim. (“Motion”) brought by

      24 Huntington National Bank (“HNB”) and stipulated by Easterday Ranches, Inc. (“Ranches”) and

      25 Easterday Farms (“Farms”) (Ranches and Farms are hereinafter referred to collectively as

      26

           ORDER APPROVING STIPULIATION; APPROVING                   SCHWEET LINDE & COULSON, PLLC
           REJECTION OF CERTAIN LEASES; AND FIXING                               575 S. Michigan St.
                                                                                  Seattle, WA 98108
           REJECTION CLAIM – 1                                           P (206) 275-1010 F (206) 381-0101



           21-00141-WLH11       Doc 1319    Filed 12/29/21    Entered 12/29/21 11:24:21           Pg 1 of 3
 1 “Debtors” and each a “Debtor”). Based on the Motion, the agreement of HNB and Debtors from

 2 the stipulation, and the records and files herein, it is hereby:

 3           ORDERED, ADJUDGED, AND DECREED that the Motion, ECF Dkt. No. 1314___is
 4
     granted; it is further:
 5
             ORDERED, ADJUDGED AND DECREED that the stipulation between HNB and Debtors
 6
     is approved; it is further
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 8           ORDERED, ADJUDGED, AND DECREED that the respective leases (collectively the

 9 “Leases”) for the following equipment are hereby rejected:
10                •   2021 Wilson PSDCL-402 53' x 102" Quad Axle Livestock Trailer, VIN
11
                      #1W16534A8M5559553 together with all attachments and accessories thereto
12
                  •   2021 Wilson PSDCL-402 53' x 102" Quad Axle Livestock Trailer, VIN
13
                      #1W16534AXM5559554 together with all attachments and accessories thereto
14

15                •   Trinity Eagle Bridge Belt Trailer, VIN #1T9SC5344LB656023

16                •   2020 Traileze 55 ton Lowboy Wide Side Trailer, VIN #1DADLD033LM022971
17                    together with a 2020 Traileze Flip Axle TE1FA, VIN #1DAYYGA13LM022972;
18
     it is further:
19
             ORDERED, ADJUDGED, AND DECREED that HNB shall have an allowed general
20
     unsecured claim in the Ranches case in the amount of $53,679.23 on account of Claim No. 7 filed
21

22 in Ranches bankruptcy case by TCF National Bank, predecessor in interest to HNB; and it is

23 further:

24

25                                [ORDER CONTINUES ON NEXT PAGE]
26

      ORDER APPROVING STIPULIATION; APPROVING                         SCHWEET LINDE & COULSON, PLLC
      REJECTION OF CERTAIN LEASES; AND FIXING                                   575 S. Michigan St.
                                                                                 Seattle, WA 98108
      REJECTION CLAIM – 2                                               P (206) 275-1010 F (206) 381-0101



     21-00141-WLH11            Doc 1319   Filed 12/29/21     Entered 12/29/21 11:24:21           Pg 2 of 3
 1         ORDERED, ADJUDGED, AND DECREED that HNB shall have an allowed general

 2 unsecured claim in the Farms case in the amount of $54,480.37 on account of Claim No. 5 filed in

 3 Farms bankruptcy case by TCF National Bank, predecessor in interest to HNB.

 4
                                        ///END OF ORDER///
 5

 6 Presented By:

 7
     SCHWEET LINDE & COULSON, PLLC
 8
   /s/Michael M. Sperry
 9 Michael M. Sperry, WSBA #43760
   Conner W. Morgan, WSBA #55697
10 Attorneys for The Hunt,ington National Bank

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     * Changes made by court
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     ORDER APPROVING STIPULIATION; APPROVING                     SCHWEET LINDE & COULSON, PLLC
     REJECTION OF CERTAIN LEASES; AND FIXING                                575 S. Michigan St.
                                                                             Seattle, WA 98108
     REJECTION CLAIM – 3                                            P (206) 275-1010 F (206) 381-0101



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